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                                                            1    REX D. GARNER, ESQ.
                                                                 Nevada Bar No. 9401
                                                            2    AKERMAN LLP
                                                                 1635 Village Center Circle, Suite 200
                                                            3    Las Vegas, Nevada 89134
                                                                 Telephone: (702) 634-5000
                                                            4    Facsimile: (702) 380-8572
                                                                 Email: rex.garner@akerman.com
                                                            5
                                                                 DANYA W. BLAIR
                                                            6    Texas Bar No. 00790315
                                                                 (Pro Hac Vice Application submitted)
                                                            7    AKERMAN LLP
                                                                 112 E. Pecan St., Suite 2750
                                                            8    San Antonio, TX 78205
                                                                 Telephone: (210) 582-0220
                                                            9    Facsimile: (210) 582-0231
                                                            10   Attorneys for Defendant
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11
                      LAS VEGAS, NEVADA 89134




                                                            12                                  UNITED STATES DISTRICT COURT
AKERMAN LLP




                                                            13                                         DISTRICT OF NEVADA

                                                            14       EDWARD D. JONES & CO. L.P.,                        Case No.: 2:19-cv-01968-JCM-EJY
                                                            15                                   Plaintiff,             DEFENDANT MICHAEL PETERSON'S
                                                                     vs.                                                MOTION TO DISSOLVE EX PARTE
                                                            16                                                          TEMPORARY RESTRAINING ORDER
                                                                     MICHAEL PETERSON,
                                                            17                                                          EXPEDITED TREATMENT
                                                                                                 Defendant.             REQUESTED
                                                            18

                                                            19

                                                            20             Defendant Michael Peterson (Mr. Peterson) respectfully submits this Motion to Dissolve the

                                                            21   Ex Parte Temporary Restraining Order (Ex Parte TRO) improperly obtained by Plaintiff Edward D.

                                                            22   Jones & Company, L.P.'s (Edward Jones), on the basis of speculation now shown to be false, for the

                                                            23   sole purpose of publicly damaging Mr. Peterson's reputation and business. Defendant respectfully

                                                            24   requests expedited treatment of this Motion, including a hearing on 2 days' notice to Plaintiff as

                                                            25   permitted by Fed. R. Civ. P. 65(b)(4).1

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                                                                  In support of this Motion to Dissolve, Defendant incorporates its Memorandum in Opposition to
                                                            28   TRO and the attached evidence filed November 12, 2019 [ECF No. 11].

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                                                            1    I.       BASIS FOR MOTION

                                                            2             Based on nothing more than speculation from individuals with no personal knowledge, Edward

                                                            3    Jones suggested to this Court that Mr. Peterson took a confidential document when he resigned on

                                                            4    October 25, 2019 and used it to improperly solicit customers. Direct evidence now on file with the

                                                            5    Court establishes he did not. Further, if Edward Jones had actually been concerned about a document

                                                            6    they believed Mr. Peterson took, they could have contacted Mr. Peterson's attorney, whose contact

                                                            7    information they received on October 25, and obtained a sworn Declaration attesting that Mr. Peterson

                                                            8    did not take and does not have any confidential documents –– a Declaration this Court and Edward
                                                            9    Jones now have. Instead, Edward Jones chose to file public accusations against Mr. Peterson by

                                                            10   inserting innuendo and speculation into affidavits and having them signed by an Indiana employee
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               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11   who never met Mr. Peterson, and a junior advisor assigned to call Mr. Peterson's clients. They also
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                                                            12   emailed at least one reporter with their accusations of misconduct against Mr. Peterson.
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                                                            13            Edward Jones' tactics should not be condoned by this Court. None of the Edward Jones

                                                            14   "evidence" was competent to support a TRO, as none of it was based on personal or direct knowledge.

                                                            15   Neither of the two individuals who actually worked with Mr. Peterson in his Edward Jones office,

                                                            16   nor the Regional Leader who directly supervised Mr. Peterson, submitted any testimony suggesting

                                                            17   documents were missing from his office after he resigned. Further, none of the customers discussed

                                                            18   in the hearsay affidavit submitted by the junior advisor were reported to have told Edward Jones that

                                                            19   Mr. Peterson in any way "solicited" them to his new firm.

                                                            20            It is clear the purpose of these proceedings was not to secure the return of a confidential

                                                            21   document taken by Mr. Peterson –– as no such document exists. Rather the purpose was to sully Mr.

                                                            22   Peterson's reputation, interfere with his ability to serve clients who have asked him to do so, and sound

                                                            23   a warning to other Edward Jones advisors who may dare to seek employment elsewhere.

                                                            24   Unfortunately that unscrupulous purpose is being achieved.

                                                            25   II.      EX PARTE TRO DOES NOT "PRESERVE" THE STATUS QUO

                                                            26            The Ex Parte TRO does not "preserve the status quo" as Edward Jones suggests. To the

                                                            27   contrary, it drastically alters the status quo. Prior to the Ex Parte TRO, Mr. Peterson was a well-

                                                            28   respected member of the financial services industry, without a single blemish on his sterling
                                                                                                                  2
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                                                            1    reputation. Prior to the Ex Parte TRO, reporters were not publishing articles stating that Mr. Peterson

                                                            2    did unethical things he did not and would not ever do, like "misappropriate" from Edward Jones "an

                                                            3    internal report that identified all his clients, their account numbers and their asset details." Prior to the

                                                            4    Ex Parte TRO, clients and potential clients in the community were not being told Mr. Peterson is

                                                            5    unethical and unworthy of their trust. Prior to the Ex Parte TRO, both Edward Jones and Mr. Peterson

                                                            6    were free to advise clients that it is their choice whether to work with Edward Jones or Mr. Peterson

                                                            7    –– a freedom of choice the Financial Industry Regulatory Authority (FINRA) requires. There was no

                                                            8    need for a TRO to "protect the status quo" from Mr. Peterson, as he did nothing wrong. There is an
                                                            9    urgent need to dissolve the TRO to protect Mr. Peterson, as the impression created by the TRO's

                                                            10   existence –– however wrong and misplaced –– continues to do immeasurable and irreversible damage
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               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11   his reputation while it remains in place.
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                                                            12   III.    MR. PETERSON WAS DENIED THE OPPORTUNITY TO BE HEARD
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                                                            13           Plaintiff was given the name and contact information for Mr. Peterson's attorney on October

                                                            14   25, 2019 but did not contact her to discuss any concerns regarding Mr. Peterson until it filed for an Ex

                                                            15   Parte TRO on the evening of Friday, November 8, 2019. Plaintiff's counsel was advised at that time

                                                            16   that Mr. Peterson did not take any documents or solicit any clients to move to his new firm, but they

                                                            17   nonetheless proceeded to obtain Ex Parte TRO. The Motion was filed late Friday, November 8, 2019

                                                            18   then emailed to Mr. Peterson's counsel the next day, Saturday, November 9, 2019. Monday, November

                                                            19   11, 2019 was a federal holiday. One (1) business day after receiving notification of Plaintiff's

                                                            20   concerns and a copy of its Motion for an Ex Parte TRO, Mr. Peterson filed comprehensive and

                                                            21   conclusive evidence establishing that he did not take or use confidential information from Edward

                                                            22   Jones, and did solicit any clients to move to his new firm. Just as this evidence was being filed, the

                                                            23   Ex Parte TRO was entered. The TRO almost certainly would not have been entered if Mr. Peterson

                                                            24   had the opportunity to be heard. He now seeks that opportunity.

                                                            25   IV.     DISSOLUTION UNDER FRCP 65 IS PROPER

                                                            26           Dissolving a preliminary injunction or temporary restraining order is within the sound

                                                            27   discretion of the district court. Blom v. Floodsuckers, LLC, 2012 WL 13071542, at *4 (D. Nev. Nov.

                                                            28   19, 2012), citing Owen v. Perkins Oil Well Cementing Co., 2 F.2d 247, 247 (9th Cir. 1924). Fed. R.
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                                                            1    Civ. P. 65(b)(4) requires courts to hear and decide a Motion to Dissolve an Ex Parte TRO "as promptly

                                                            2    as justice requires." Because the Court now has direct evidence that Edward Jones' speculation on

                                                            3    which the TRO was based was unfounded, and because the existence of the baseless Ex Parte TRO

                                                            4    acts to harm Mr. Peterson's reputation and livelihood continuously and perhaps irreversibly, justice

                                                            5    requires the Motion to Dissolve be heard and ruled on without delay.

                                                            6    V.      ALTERNATIVE MOTION TO MODIFY TRO

                                                            7            In the alternative, based on the above, in the event the Court does not dissolve the Ex Parte

                                                            8    TRO based on the evidence now before it, Mr. Peterson has established that he is likely to suffer great
                                                            9    harm as a result of the TRO, and a substantial bond should be required. Plaintiff is one of the country's

                                                            10   largest broker dealers with vast resources, and Mr. Peterson is an individual whose livelihood and
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               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11   ability to support his family depends on the reputation he has worked hard to build. For these reasons,
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                                                            12   Defendant asks that the TRO be modified to require a bond of no less than $50,000 from Plaintiff.
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                                                            13           DATED November 13, 2019.

                                                            14                                                 AKERMAN LLP

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                                                                                                               /s/ Rex D. Garner
                                                            16                                                 REX D. GARNER, ESQ.
                                                                                                               Nevada Bar No. 9401
                                                            17                                                 1635 Village Center Circle, Suite 200
                                                                                                               Las Vegas, NV 89134
                                                            18
                                                                                                               DANYA W. BLAIR
                                                            19                                                 (Pro Hac Vice Application submitted)
                                                                                                               Texas Bar No. 00790315
                                                            20                                                 AKERMAN LLP
                                                                                                               112 E. Pecan St., Suite 2750
                                                            21                                                 San Antonio, TX 78205
                                                            22                                                 Attorneys for Michael Peterson
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